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             IN THE UNITED STATES DISTRICT COURT DISTRICT OF UTAH

                                      NORTHERN DIVISION


     GEOMETWATCH CORPORATION, a                         MEMORANDUM DECISION AND
     Nevada corporation,                                        ORDER

                                   Plaintiff,

                    vs.                                      Case No. 1:14-cv-60-JNP-PMW

     ALAN HALL, an individual; ISLAND
     PARK INVESTMENTS, a Utah
     corporation; TEMPUS GLOBAL DATA,                          District Judge Jill N. Parrish
     INC., a Delaware corporation; ROBERT
     T. BEHUNIN, an individual; UTAH                        Magistrate Judge Paul M. Warner
     STATE UNIVERSITY ADVANCED
     WEATHER SYSTEMS FOUNDATION, a
     Utah corporation; and UTAH STATE
     UNIVERSITY RESEARCH
     FOUNDATION d/b/a Space Dynamics
     Laboratory, a Utah corporation,

                                   Defendants.


          District Judge Jill N. Parrish referred this case to Magistrate Judge Paul M. Warner

 pursuant to 28 U.S.C. § 636(b)(1)(A). 1 At a hearing on April 29, 2016, the court instructed the

 parties to contact the court by telephone to resolve any minor discovery disputes that may arise

 in the course of this litigation. 2 On June 8, 2016, the parties contacted the court for guidance on

 resolving two discovery disputes. After hearing arguments from counsel, the court determined

 that briefing on the two issues would help resolve the disputes. The parties (and non-parties)




 1
     See docket nos. 81 and 85.
 2
     See docket no. 194.
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 have now submitted that briefing. 3 The court has carefully reviewed the briefing submitted by

 the parties, as well as the applicable case law, and now rules as follows.

          Discovery of Defendants’ Joint Defense and Indemnification Agreements

          GeoMetWatch seeks the production of any joint-defense or indemnification agreements

 between or among Defendants on the grounds that they are relevant and proportional and not

 privileged. Alan Hall, Tempus Global Data, and Island Park (collectively, “Hall Defendants”)

 argue that these documents are not discoverable because they are privileged and are not relevant

 to the claims and defenses in the action.

          The joint-defense or common-interest privilege is an extension of the attorney-client

 and/or the work-product privileges; it does not stand alone as an independent privilege. See

 Static Control Components, Inc. v. Lexmark Intern., Inc., 250 F.R.D. 575, 578 (D. Colo 2007).

 “Thus, to be eligible for protection under the joint defense privilege, it must be established that

 the materials fall within the ambit of either the attorney-client privilege or the qualified immunity

 afforded to work product.” Id. (quotations and citation omitted). To establish a joint-defense

 privilege, the proponent of the privilege must first establish either the attorney-client or work-

 product privileges, and then must also demonstrate: “(1) the documents were made in the course

 of a joint-defense effort; and (2) the documents were designed to further that effort.” In re

 Grand Jury Proceedings, 156 F.3d 1038, 1043 (10th Cir. 1998).

          The Tenth Circuit has not had occasion to specifically address the discoverability of joint

 defense agreements themselves or whether they are protected by the joint defense privilege.

 Cases that have addressed whether joint-defense agreements are discoverable or protected by the

 joint-defense privilege run the gamut. See Steuben Foods, Inc. v. GEA Process Eng’g, Inc., No.



 3
     See docket nos. 260, 261, 262, and 263.
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 12-CV00904(S)(M), 2016 WL 1238785, *1 (W.D.N.Y. Mar. 30, 2016) (“Cases addressing the

 question of whether JDAs are privileged fall, quite frankly, all over the lot.”). Some courts have

 found that joint-defense agreements are indeed protected by the joint-defense privilege. See,

 e.g., Heartland Surgical Specialty Hosp., LLC v. Midwest Div., Inc., No. 05-2164, 2007 WL

 950282, at *10 (D.Kan. Mar. 26, 2007) (assuming that the joint-defense privilege applied to the

 joint-defense agreement because the parties did not argue otherwise and “the applicability of the

 privilege is clear to the Court”). Other courts have found that joint-defense agreements are not

 protected by that privilege. See, e.g., Rodriguez v. Gen. Dynamics Armament and Technical

 Prod., Inc., Civ. No. 08-00189, 2010 WL 1438918, *1 (D. Haw. Apr. 7, 2010) (finding, after an

 in camera review, that the joint-defense agreement did not contain any privileged or protected

 material and ordering that it be produced). And still other courts have determined that joint-

 defense agreements are simply not relevant and thus not discoverable. See, e.g., Broessel v.

 Triad Guar. Ins. Corp., 238 F.R.D. 215, 218 (W.D. Ky. 2006) (noting that while the parties

 “argued vigorously” on the issue of privilege of the joint-defense agreements at issue, they failed

 to demonstrate that the agreements were “‘relevant to the claim or defense of any party’”

 (quoting Fed. R. Civ. P. 26(b)(1))).

        The threshold issue here is whether the joint-defense agreements are relevant to the

 parties’ respective claims or defenses. See Warren Distrib. Co. v. InBev USA L.L.C., No. Civil

 No. 07-1053 (RBK), 2008 WL 4371763, *4 (D.N.J. Sept. 18, 2008). Rule 26(b)(1) of the

 Federal Rules of Civil Procedure provides, in relevant part, that “[p]arties may obtain discovery

 regarding any nonprivileged matter that is relevant to any party’s claim or defense and

 proportional to the needs of the case, considering . . . the importance of the discovery in


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 resolving the issues.” Fed. R. Civ. P. 26(b)(1). “Evidence is relevant if . . . it has any tendency

 to make a fact more or less probable than it would be without the evidence; and . . . the fact is of

 consequence in determining the action.” Fed. R. Evid. 401.

        This court concludes that the joint defense agreements are not relevant to the parties’

 respective claims and/or defenses. This court has reviewed the case law in depth and finds the

 decision in Warren to be particularly helpful. The court in Warren denied the plaintiff’s motion

 to compel the joint defense agreement on the grounds that it was not discoverable; the court

 never reached the issue of privilege. See Warren, 2008 WL 4371763, at *2. The court noted that

 the relevancy of a joint defense agreement depends upon its language and thus reviewed the

 agreement in camera. See id. at *3. Like the agreement in Warren, the joint defense agreement

 in this case “contains language that parties typically include in joint defense agreements to

 protect from discovery privileged information revealed to a third party.” Id. It “contains

 standard and boilerplate language that is not discoverable because it is not relevant to any claim

 or defense in this case.” Ford Motor Co. v. Edgewood Properties, Inc. 257 F.R.D. 418, 428

 (D.N.J. 2009).

        The plaintiff in Warren argued that its civil conspiracy claim rendered the defendants’

 joint defense agreement relevant and thus discoverable. The court disagreed. Similarly,

 GeoMetWatch asserts that the joint-defense agreement is directly relevant to its claim for civil

 conspiracy, but it too has failed to demonstrate the agreement’s relevancy under Rule 26(b)(1).

 As noted by the court in Warren, “[t]he fact that a joint defense agreement was signed is not

 evidence of the conspiracy plaintiffs allege existed. If this were the case courts would routinely

 order the production of joint defense agreements.” Id. at *4.


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        Because the court has determined that the joint-defense agreement is not relevant, it need

 not determine whether it is protected by the joint-defense privilege.

        For the same reason as set forth above, the court likewise concludes that the

 indemnification agreements between the Hall Defendants and the four individual defendants are

 not relevant to any claim or defense of any party. See, e.g., In Re Zicam Cold Remedy

 Marketing, Sales Practices, and Products Liability Action, No. 09-md-2096, 2010 WL 4715951,

 *1 (D. Ariz. Nov. 15, 2010). While Rule 26.1 sets forth a specific exception providing for the

 discoverability of insurance agreements, there is no similar provision for non-insurance

 indemnification agreements. See Fed. R. Civ. P. 26.1(e)(1); see also In re Zicam, 2010 WL

 4715951, at *1 (holding that “[b]ecause no insurance business is party to the agreement, [Rule

 26] does not require its automatic disclosure”). As the advisory committee notes to Rule

 26(b)(2) explain, the Rule is not intended to cover “the ordinary business concern that enters into

 a contract of indemnification.” Fed. R. Civ. P. 26(b)(2) advisory committee notes.

 GeoMetWatch contends that the indemnification agreements are relevant to issues of witness

 credibility, especially if they contain tolling or settlement provisions. See In re Lloyd’s American

 Trust Fund Litigation, No. 96 CIV. 1262, 1998 WL 50211, *21 (S.D.N.Y. Feb. 6, 1998) (noting

 that the party requesting production of an indemnification agreement argued that the agreement

 was relevant to show potential bias). The court has reviewed the indemnification agreements in

 this case and they do not contain any provisions that settle or toll claims. They merely provide

 that the Hall Defendants are responsible to indemnify these individual defendants.

        The court in In re Lloyd’s American Trust Fund Litigation determined that because the

 indemnification relationship between the indemnitor and indemnitee was already known, the


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 agreement itself was not discoverable as “the details of any indemnification agreements that may

 exist add nothing to that argument [that it should be produced].” See id. at *20. Similarly,

 GeoMetWatch is aware of the indemnification relationships between the Hall Defendants and the

 four individual defendants. Because the indemnity agreements are not relevant to the subject

 matter of the case and add nothing to GeoMetWatch’s arguments regarding potential bias, the

 agreements need not be produced.

        Discovery of GeoMetWatch Investor Communications

        The Hall Defendants seek the production of post-lawsuit documents and communications

 between and among GeoMetWatch and GeoMetWatch Investors (“GMW Investors”), who are

 non-parties to this lawsuit. Defendant Utah State University Advanced Weather Systems

 Foundation (“AWSF”) argues that GMW Investors are improperly withholding these

 communications. Specifically, AWSF asserts that GMW Investors have failed to establish the

 existence of the attorney-client, work-product, and/or common-interest privileges.

        GMW Investors assert that they have produced responsive, non-privileged documents, as

 well as a privilege log for privileged documents, that were in existence prior to the date this

 lawsuit was filed. GMW Investors assert that they have not produced those documents that were

 created after the lawsuit began on the grounds that they relate almost entirely to legal advice and

 strategy concerning this lawsuit and that GMW Investors and GeoMetWatch share common

 interests with respect to this case. However, GeoMetWatch Investors have indicated that they do

 not object to providing information that relates only to a defense that GeoMetWatch’s injury was

 the result of bad management rather than defendants’ misconduct.

        As noted above, the common-interest privilege is an extension of the attorney-client


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 and/or the work-product privileges; it does not stand alone as an independent privilege. See

 Static Control Components, Inc., 250 F.R.D. at 578. Thus, the court must first determine that

 attorney-client privilege or work-product privilege applies before considering the common-

 interest privilege. See Frontier Ref., Inc. v. Gorman-Rupp Co., 136 F.3d 695, 705 (10th Cir.

 1998). GMW Investors bear the burden of demonstrating that the attorney-client or work-

 product privileges apply. See Trans-W. Petroleum, Inc. v. Wolverine Gas & Oil Corp., No. 2:06-

 CV-801-TS-PMW, 2011 WL 6318528, at *3 (D. Utah Dec. 15, 2011). To demonstrate that the

 attorney-client privilege applies to the requested documents, GMW Investors must establish that

 the documents contain “confidential communications by a client to an attorney made in order to

 obtain legal assistance from the attorney in his capacity as a legal advisor.” In re Grand Jury

 Proceedings, 616 F.3d 1172, 1182 (10th Cir. 2010). To establish that the documents are work-

 product, GMW Investors must prove that they consist of “material assembled by an attorney in

 preparation for impending litigation.” United States v. Ary, 518 F.3d 775, 783 (10th Cir. 2008)

 (quotations and citations omitted).

        The court concludes that the documents set forth on GMW Investors’ privilege logs are

 not protected by either the attorney-client or work-product privileges, except, perhaps, for one

 email on the Willard Privilege Log dated April 17, 2014, from D. Willard to Randy Friedberg,

 who is listed as an attorney. For the rest of the documents, GMW Investors have not

 demonstrated that the documents are privileged. The privilege logs establish that the documents

 are responsive to the subpoena and reflect communications between and among GMW Investors

 about GMW’s lawsuit. Except as stated above, no attorney appears on these communications.

 GMW Investors have not demonstrated that the documents contain “the mental processes of the


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 attorney,” or otherwise reflect “material assembled by an attorney [or his agent] in preparation

 for impending litigation.” It does not appear that the GMW Investors are GeoMetWatch officers

 acting at the instruction of counsel but, rather, the logs suggest that GMW Investors are merely

 discussing their own opinions regarding this case. Several privilege logs entries indicate that

 GMW Investors discussed “the lawsuit and legal theories in support of the same” among

 themselves, without the involvement of counsel. As such, these documents are not privileged.

        While this court aggressively protects from discovery documents that are in fact attorney-

 client or work-product privileged, it also strictly construes those privileges. Because GMW

 Investors have not demonstrated that either the attorney-client or work-product privileges apply

 to the documents at issue, it is unnecessary for this court to determine whether there is a common

 interest between GeoMetWatch and GMW Investors.

        Based on the foregoing, this court has determined that GMW Investors must provide full

 responses to the subpoena. In addition, if there are post-lawsuit documents responsive to the

 subpoena that GMW Investors contend are privileged, they shall provide a privilege log for those

 documents.

        IT IS SO ORDERED.

        DATED this 12th day of July, 2016.


                                                      BY THE COURT:



                                                      _________________________________
                                                      PAUL M. WARNER
                                                      United States Magistrate Judge



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